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.':.LTE 3"~;‘ ,,r, D.C.
IN THE UNITED STATES DISTRICT COURT §§
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION
LILLIAN THOMPSON HOLMES,
Plaintiff,
v. No. 03-2190 B

J.M. PRODUCTS, INC.,
SUMMIT PACKAGING SYSTEMS, INC.,
and U.S. CAN CORPORATION,

Defendants.

 

ORDER DENYING AS MOOT DEFENDANT'S MOTION TO FILE R_EPLY

 

Pending on the Court'S docket in this matter is the motion of the Defendant, United States
Can Company, for leave to file a reply in Support of its motion to allow interior inspection filed
February lS, 2005. AS the Plaintiffs claims against this Defendant have Since been dismissed, the

motion is hereby DENIED as moot.

IT IS SO 0RDERED this '*&y of May, 2005.

 

. D NIEL BREEN \
UN ED STATES DISTRICT JUDGE

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ESSEE

 

LaWrence W. White

LEITNER WILLIAMS DOOLEY & NAPOLITAN
254 Court Ave.

Second Floor

1\/1emphis7 TN 38103

Jennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

W. Bryan Smith

THE COCHRAN LAW FIRM
One Commerce Square

26th Floor

1\/1emphis7 TN 38103

Kent E. Krause
BREWER KRAUSE & BROOKS
611 Commerce St.

Nashville, TN 37203

DeWitt M. Shy

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

David A. McLaughlin

COCHRAN CHERRY GIVENS SMITH & BOLTON
One Commerce Square

Ste. 2600

1\/1emphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

